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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIR E


United States of America

             V.                          Case No . 02-cr-153-13-15-S M

Jovice Goodlin and
Deborah Wasserman

                                     ORDER

      Defendant Wasserman's motion to continue the final pretrial conferenc e

and trial is granted (document 359) . Trial has been rescheduled for the

February 2008 trial period . Defendant Wasserman shall file a waiver of speedy

trial rights not later than February 2008 . Upon filing of such waiver, her

continuance shall be effective .

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S .C . § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances .

      Final Pretrial Conference : January 25, 2008 at 2 :00 p.m.

      Jury Selection : February 5, 2008 at 9 :30 a.m .
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      SO ORDERED .




                                       Steven Y. McAuliffe
                                       Chief Judge

October 3, 200 7

cc : Paul Maggiotto, Esq .
       David Vicinanzo, Esq.
       Michael Sheehan, Esq .
       Andrew Schulman, Esq .
       Don Feith, AUS A
       US Probation
       US Marshal




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